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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                           (S4) 23-Cr-490 (SHS)

                   -v-                                              ORDER

ROBERT MENENDEZ, NADINE MENENDEZ,
WAEL HANA, and FRED DAIBES,

                                       Defendants.
---------------------------------------------------------------X



SIDNEY H. STEIN, U.S. District Judge.

        Kasowitz Benson Torres LLP and Krieger Lewin LLP have moved jointly to quash three
Fed. R. Crim. P. 17 subpoenas issued by Robert Menendez regarding their representation of Jose
Uribe. (ECF No. 394.) Krieger Lewin represented Uribe in this matter until shortly after he was
indicted, at which time Kasowitz began representing him instead.
        The three subpoenas are as follows: First, on or about April 11, 2024, Menendez sent a
Rule 17(c) subpoena to Kasowitz demanding "[a]ny and all documents and communications"
with employees of the U.S. Attorney's Office for the Southern District of New York ("USAO"),
FBI, or any law enforcement agency regarding Uribe or other listed individuals involved in this
matter. (ECF No. 395-1.)
        Second, on or about April 18, 2024, Menendez sent a Rule 17(c) subpoena to Krieger
Lewin demanding the same set of documents as were demanded in the Kasowitz subpoena, as
well as the following two additional demands: (1) materials exchanged with the government in
connection with Uribe's representation that his payments towards Nadine's Mercedes were
loans, and (2) any documents internal to Krieger Lewin or between Krieger Lewin and Uribe
regarding statements made during a July 19, 2023 proffer about Nadine paying Uribe back. (ECF
No. 395-2.)
         Third, on or about May 1, 2024, Menendez sent Uribe a Rule 17(a) subpoena to testify at
trial that included a rider demanding production of substantially the same documents
demanded in the Kasowitz and Krieger Lewin subpoenas. (ECF No. 395-3.)
        Kasowitz and Krieger Lewin argue that the subpoenas should be quashed for two
reasons. First, they are inappropriate under Rule 17 and the Supreme Court's standard for Rule
17 subpoenas set forth in United States v. Nixon, 418 U.S. 683 (1974). Second, certain demands
contained in the Krieger Lewin subpoena call for documents that are protected by the attorney-
client or work product privileges. Menendez opposes the motion. (ECF No. 418.)
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          I.      Legal Standard for Rule 17
        Fed. R. Crim. P. 17 permits defendants to issue a subpoena "cornmand[ing a] witness to
attend and testify at the time and place the subpoena specifies," Fed. R. Crim. P. 17(a), and to
"order the witness to produce any books, papers, documents, data, or other objects the subpoena
designates." Fed. R. Crim. P. 17(c). Courts may quash or modify a Rule 17(c) subpoena "if
compliance would be unreasonable or oppressive." Fed. R. Crim. P. 17(c)(2). In order to survive
a motion to quash, the party that served the subpoena must satisfy the requirements set forth by
the Supreme Court in Nixon that "the materials requested are relevant, specifically identified,
admissible, and not otherwise procurable by due diligence." United States v. Barnes, 560 F. App' x
36, 39-40 (2d Cir. 2014); see also Nixon, 418 U.S. at 700 (the subpoena "must clear three hurdles: (1)
relevancy; (2) admissibility; (3) specificity").
        In order for a subpoena to be sufficiently specific, its proponent must show that it "is not
intended as a general 'fishing expedition."' Nixon, 418 U.S. at 700. "Subpoenas seeking 'any and
all' materials, without mention of 'specific admissible evidence,' justify the inference that the
defense is engaging in the type of 'fishing expedition' prohibited by Nixon." United States v.
Mendinueta-Ibarro, 956 F. Supp. 2d 511, 513 (S.D.N.Y. 2013). To defeat the notion that the
subpoena is designed to evade the discovery requirements of the Federal Rules of Criminal
Procedure, the party who served the subpoena "must be able to 'reasonably specify the
information contained in or believed to be contained in the documents sought' rather than
'merely hop[e] that something useful will tum up."' United States v. Louis, No. 04-CR-203, 2005
WL 180885, at *5 (S.D.N.Y. Jan. 27, 2005) (quoting United States v. Sawinski, No. 00-CR-499, 2000
WL 1702032, at *2 (S.D.N.Y. Nov. 14, 2000)). Put simply, a Rule 17(c) subpoena is "not intended
to provide a means of discovery for criminal cases." Nixon, 418 U.S. at 698 (citing Bowman Dairy
Co. v. United States, 314 U.S. 214, 220 (1951)). Courts must "be mindful not to allow the Rule 17(c)
process to become a broad discovery device that would undermine the discovery procedures set
forth in Rule 16." United States v. Kwok, No. 23-CR-118-1, 2024 WL 1719364, at *2 (S.D.N.Y. Apr.
22, 2024) (quoting United States v. Maxwell, No. 20-CR-330, 2021 WL 1625392, at *1 (S.D.N.Y. Apr.
27, 2021)).
         II.      Discussion
       The subpoenas here target two categories of materials. First are communications with the
USAO, FBI, and other law enforcement agencies. These represent the majority of the subpoena
demands, including (a) all demands made of Kasowitz, (b) demands (l)(a)-(e) made of Krieger
Lewin, and (c) all demands made of Uribe. (See ECF Nos. 395-1, 395-2, 395-3.) The second
category of materials demanded are documents "internal" to Krieger Lewin and correspondence
between Krieger Lewin and Uribe. This demand is only present in the Krieger Lewin subpoena.
(ECF No. 395-2.) The Court will analyze each category separately.
               A. Documents Constituting Communications with the USAO, FBI, and Other Law
                  Enforcement Agencies
       This first category of demands do not comply with Rule 17 and the Nixon requirements.



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         First, most demands fail Nixon's specificity requirement. The Kasowitz subpoena
demands "[a]ny and all documents and communications" with the USAO, FBI, or any other law
enforcement agency regarding this matter. (ECF No. 395-1.) This plainly fails to satisfy the
specificity requirement set forth in Nixon. See Nixon, 418 U.S. at 700; United States v. Shah, No. 19-
CR-833, 2022 WL 1284550, at *2 (S.D.N.Y. Apr. 29, 2022) ("The request for 'all' such documents
and communications without a whiff of specificity as to why [the requestor] requires them is
nothing more than an impermissible 'fishing expedition."'). Menendez has not provided any
specificity about the information he believes is contained in the documents or why he is entitled
to it. Such broad demands "clearly indicat[e] that Defendant seeks to obtain information helpful
to the defense by examining large quantities of documents, rather than to use Rule 17 for its
intended purpose-to secure the production for a court proceeding of specific admissible
evidence." Louis, 2005 WL 180885, at *5.1 Compliance with such broad demands is
"unreasonable or oppressive" under Rule 17(c). Fed. R. Crim. P. 17(c)(2); see also Louis, 2005 WL
180885, at *5; Mendinueta-Ibarro, 956 F. Supp. 2d at 515. The essentially identical demands in the
Krieger Lewin and Uribe subpoenas suffer from the same deficiency. 2
       In addition, each subpoena specifies that it demands "any materials you provided to"
and "any materials you received from" the "USAO, the FBI, or any other law enforcement
agency in connection with the above-referenced matter." Such materials-if they exist-are
almost surely in possession of the government and available through Rule 16. Accordingly, the
request for such materials does not comply with Nixon's requirement that the materials must not
be otherwise procurable reasonably in advance of trial by the exercise of due diligence. See
Nixon, 418 U.S. at 699; Maxwell, 2021 WL 1625392, at *2 (granting motion to quash Rule 17
subpoena where the "requests target information that reasonably can be expected to be in the
hands of the Government"). Moreover, because Uribe is a government witness, any statements
by him in possession of the government have already been turned over to Menendez pursuant to
18 U.S.C. § 3500 and the agreement of the parties concerning the timing of the production of 18
U.S.C. § 3500 material. To the extent any of these materials are not otherwise discoverable under
Rule 16, they are not appropriate subjects for a Rule 17 subpoena. See United States v. Arias, 373 F.
Supp. 2d 311, 313 (S.D.N.Y. 2005) ("to the extent that [such documents] came from the
Government and are not discoverable by [defendant] under Rule 16, [he] may not subpoena a co-
defendant or related party to make an end-run around the discovery limitations of Rule 16");


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  The only demand for communications with the government that may satisfy Nixon's specificity
requirement is the following, which is numbered as (l)(c) in the Krieger Lewin subpoena and (c) in the
Uribe subpoena: "Any communications or materials you exchanged with the USAO, the FBI, or any other
law enforcement agency in connection with the representation of any form of payment made by Jose Uribe
towards the 2019 Mercedes-Benz C300A4, VIN WDDWK8EB7KF873859 registered to Nadine Menendez,
as a loan." (ECF Nos. 395-2, 395-3.) This demand is much more specific than the others, as it targets the
particular subject matter of the characterization of Uribe's payments as loans. However, even if this
request were sufficiently specific, it fails to comply with Rule 17 for the additional reasons set forth in the
following paragraph.
2 In the Krieger Lewin subpoena, these are demands l(a), l(b), l(d), and l(e). (ECF No. 395-2.) In the Uribe

subpoena, these are demands (a), (b), (d), and (e). (ECF No. 395-3.)

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Shah, 2022 WL 1284550, at *2 ("Rule 16-and not a Rule 17(c) subpoena-is the proper vehicle by
which to obtain" "relevant, discoverable information in the government's possession").
        Accordingly, the following demands are quashed as failing to comply with Rule 17 and
Nixon: (1) all demands in the Kasowitz subpoena, (2) demands l(a)-(e) in the Krieger Lewin
subpoena, and (3) all demands in the Uribe subpoena.
           B. Documents Internal to Krieger Lewin and Between Krieger Lewin and Uribe
       In addition to communications with the government, the Krieger Lewin subpoena
includes a second demand, which reads as follows:
           •   "Any and all internal memoranda, notes, documents and communications, as well
               as any correspondence and documents from, to, or with Jose Uribe, regarding the
               statements by counsel for Mr. Uribe that Nadine Menendez would pay Jose Uribe
               back for the car payments he made on her behalf, which statements were made
               during the proffer presentation by the Krieger Lewin law firm on behalf of Mr.
               Uribe to the U.S. Attorney's Office, Southern District of New York, on or about
               July 19, 2023." (ECF No. 395-2.)
        Movants assert that these documents "are on their face privileged or work product and
therefore not discoverable or admissible." (ECF No. 394 at 8.) Relatedly, according to movants,
the requirement that Krieger Lewin conduct a privilege review and generate a privilege log for
all such documents is unduly oppressive under Fed. R. Crim. P. 17(c)(2). (Id.)
       Menendez responds to the assertion of privilege with three arguments. First, Menendez
contends that "[t]he Court has already ruled that
                                                         ." (ECF No. 418 at 1.) The Court has
ruled that                                   to certain documents and testimony concerning
Nadine Menendez's car loan, but that ruling was limited to
                                  and did not concern                                         .
       Second, Menendez urges that "[a]t minimum, Krieger Lewin should be required to
produce responsive material to the court for in camera review." (Id.) However, analyzing
whether                                      involves a two-step process and in camera review is
the second step of that process. Before in camera review, the party asserting the


                                                "' United States v. Jacobs, 117 F.3d 82, 87 (2d Cir.
1997) (quoting In re John Doe, Inc., 13 F.3d 633, 637 (2d Cir. 1994)). Only then does a court proceed
to potential in camera review of the relevant documents. Id.; see also Zolin, 491 U.S. at 572. Here,
Menendez's single paragraph in his short letter-which does not attach a single exhibit or
affirmation-is not sufficient to establish the required "factual basis." See Richards v. Kallish, No.
22-CV-9095, 2023 WL 8111831, at *11 (S.D.N.Y. Nov. 22, 2023); Zolin, 491 U.S. at 574 ("[B]efore a
district court may engage in in camera review at the request of the party opposing the privilege,
that party must present evidence sufficient to support a reasonable belief that in camera review
may yield evidence that establishes                                  .") (emphasis added).

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Accordingly, in camera review is not warranted on the record before the Court as it currently
stands.
        Third, Menendez claims that Uribe' s privilege has already been waived by the disclosure
to the government of his discussions with counsel. However, on its face, the demand only
requests (a) documents "internal" to Krieger Lewin and (b) documents exchanged between
Uribe and Krieger Lewin. Such documents are ordinarily privileged and Menendez does not cite
a single case, rule, or statute to substantiate his waiver argument. In addition, Fed. R. Evid.
502(a) sets out specific requirements governing when disclosure of certain information to a
federal office (i.e., USAO) constitutes a waiver of other, related information, but Menendez fails
to analyze these requirements in his presentation.
        Accordingly, in regard to the second demand in the Krieger Lewin subpoena -which is
set forth in full above-the record here is simply not sufficient for the Court to determine either
that                                    or that Uribe waived any privileges. Kasowitz and Krieger
Lewin' s motion to quash this second demand in the Krieger Lewin subpoena is granted.
        III.   Conclusion
       In summary, the motion to quash the three subpoenas is granted.
        Regarding only the second demand in the Krieger Lewin subpoena, Menendez may, if he
so chooses, make a properly supported motion establishing a "factual basis [striking] 'a prudent
person' as constituting '
                                                                               ."' Jacobs, 117 F.3d
at 87. At that point, the Court will determine whether a factual basis has been established and
whether in camera review of the relevant documents is warranted. If he so chooses, Menendez
may also make a properly supported motion that Uribe' s privilege has been waived.




Dated: New York, New York
       May 31, 2024

                                             SO ORDERED:




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